Case 4:24-cv-10071-XXXX Document 1-2 Entered on FLSD Docket 09/09/2024 Page 1 of 1
JS 44 (Rev. 04/21) FLSD Revised 12/02/2022 CIVIL COVER SHEET

The JS 44 civil cover shect and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the usc of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate-All Rée-filed Cases Bélow.

I. (a) PLAINTIFFS DEFENDANTS
Franco, Yansi PAPA JOHN’ S INTERNATIONAL, INC., PA
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY}
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address. and Telephone Number) Attomeys (if Known)

Coane and Associates, PLLC; 1250 East Hallandale Beach Blvd, PH 2,

(d) Check County Where Action Arose: 0] miami DADE MONROE O BROWARD [PALM BEACH O] MARTIN EUST.LUCIE ELINDIAN RIVER EJ OKRECHORER DU HIGHLANDS

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an °X” in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
0 1 U.S. Government m3 Federal Question PTF DEF PTF DEF
Plaintit¥ (U.S. Government Not a Party) O Citizen of This State o1 0 1 Incorporated or Principal Place O4 O84
of Business In This State
O 2.) U.S. Government O4 Diversity OQ Citizen of Anather State 0 2 O) 2 Incorporated and Principal Place O35 O05
Defendant (ladicate Citizenship of Parties in ttem HI) of Busincss In Another State
Citizen or Subject of a Bort .
Foreign Country Oo 3 0 3 Foreign Nation O6 O06

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G 110 Insurance PERSONAL INJURY 7 625 Drug Related Seizure DO 422 Appeal 28 USC 158 375 False Claims Act
© 120 Marine D 310 Airplane C) 365 Personal Injury - of Property 21 USC 881. = 423 Withdrawal 376 Qui Tam (31 USC 3729(a))
0 130 Miller Act (1 315 Airplane Product Product Liability 0 690 Other 28 USC 157 400 State Reapportionment
D 140 Negotiable Instrument Liability 0 367 Heatth Care/ 410 Antitrust
D 150 Recovery of Overpayment 0) 320 Assault, Libel & Pharmaceutical INTEL Gar Eno 430 Banks and Banking
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 450 Commerce

U 151 Medicare Act C 330 Federal Employers’ Product Liability © 830 Patent 460 Deportation
cy IS2. Recovery of Defaulted Liabilit cy 3835 Patent ~ Abbreviated 470 Racketeer Influenced

Student Loans . y 0 368 Asbestos Personal O New Drug Application and Corrupt Organizations

Injury Product Liability 840 ‘Trademark .
(Exel. Veterans) D340 Marine g 880 Defend Trade Secrets 480 Consumer Credit

(15 USC 1681 or 1692)

485 Telephone Consumer
Protection Act (TCPA)

C) 153 Recovery of Overpayment 1) 345 Marine Product SOCTA

of Veteran’s Benefits Liability PERSONAL PROPERTY OC 710 Fair Labor Standards Acts C] 861 HIA (1395ff) 490 Cable/Sat TV

O 160 Stockholders’ Suits 1 350 Motor Vehicle C370 Other Fraud 01 720 Labor/Memt. Relations O 862 Black Lung (923) 850 Securities/Commodities/

1 190 Other Contract © 355 Motor Vehicle O 371 Truth in Lending O 740 Railway Labor Act 0 863 DIWC/DIWW (405(p)) Exchange

© 195 Contract Product Liability Product Liability (1) 380 Other Personal 0) 751 Family and Medical 01 864 SSID Title XVI 890 Other Statutory Actions

(2) 196 Franchise (© 360 Other Personal Property Damage Leave Act O 865 RSI (405(g)) 891 Agricultural Acts

Injury (1 385 Property Damage C) 790 Other Labor Litigation 893 Environmental Matters
D 362 Personal Injury - Product Liability 0 791 Employee Retirement 895 Freedom of Information Act
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Income Security Act 896 Arbitration

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i i ) .5. Plaintiff or i
O) 210 Land Condemnation OC 440 Other Civil Habeas Corpus: arcu “ S. Plamneiff or Agency Deciion of
C220 Foreclosure C1 441 Voting C463 Alien Detainee D0 Fegg Third Party 26 USC ($50 Constitutionality of
C1 230 Rent Lease & Ejectment il 442 Employment a 310 Motions to Vacate
443 Housing/ +
O 240 Tons to Land Oo Accommodations DO 530 General
C1 245 Ton Product Liability 0 445 Amer. w/Disabilities - (3 535 Death Penalty IMMIGRATION: Z
O 290 All Other Real Property Employment Other: ©) 462 Naturalization Application
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Other 0D 550 Civil Rights Actions
O 448 Education 1 $55 Prison Condition
360 Civil Detainee -
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Confinement
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(specify, ransfer at ppell ourt
Court below) Reopened specify) from Magistrate = Direct
Judgment ile

VI. RELATED/ (See instructions): a) Re-filed Case CUYES NO b) Related Cases DYES ONO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do nor cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 42 USC 1981 Race and National Origin Discrimination, Assault, Battery, IIED, Negligence

LENGTH OF TRIAL via days estimated (for both sides to try entire case
VU. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION . :
COMPLAINT: UNDER F.R.CP. 23 DEMAND $ CHECK YES only if demanded in complaint:

JURY DEMAND: @ Yes 0 No

ABOVE INFORMATION IS TRUE & CORRECT TO THE B TOF MY KNOWLEDGE

RE OF ATTORNEY OF RECORD
09/06/2024

FOR OFFICE USE ONLY : RECEIPT # AMOUNT SSFP JUDGE MAG JUDGE

